Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 1 of 54 PageID #: 4356




   Exhibit 9-2
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 2 of 54 PageID #: 4357




              I- -It




                                                                                                                                             •        ; •      o!r                       ..
                                            .   -. ..
                                                   .. .                                                                                     . \ '"' .:• ;;.!. .: ·.. .;\ ·.. ·: .· .:




                                                                        i-!-       · '!       .      - ·. · . :     •                                       ·•··. ' -·       ,.
                                                                                    .                                   .
                                                    · :·.   . ·. .: ..             '.        . ...     \•   .   ~   .   .;           • ..    . . ·; • -~ . ~.. !rt._. : ··~· . .•• ,
                                                                                                                                                           . .· ..           :' ~




                                      ~:; ~·; ··; ·,:·.~/'"~.,~; ~~~~z~·.:(.-.. ·.··\·~r+~S<·•:,; -~l:,~ .~ ;··-~:~; ;. ~\b~~4~ii~~:~Y.~ ?~·~)~
                                                            '   I   !          '        f'                                   I   0            t   •     :.:•
                                                                                                                                                               0
                                                                                                                                                                   ·'   ~.   ;    o ''   ·,•
                                                                        1




      I   I       _   f-   I
    Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 3 of 54 PageID #: 4358




                                                                                                      (




)


                             I
        \,
                    ,.....

    •        ···~
                       ~



                             0



                                                                               . ...
                                                                               :- r.:. . :   . ~ ;·
  Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 4 of 54 PageID #: 4359




                                                                                                                                                                                     (




     :Vf/tVP'.._.~_:...c;;      J?I~ ~Jip( ..
~If; ~-(l{lJ-          r
                    ?!/ frc/
                    ,-,·.~/
                                         )__!711-/t
                         ../



                  ~}etJ fty;O
                ·v~ :>f'?fl?,> ~~
                                                                                                           .
                 1Lj6cjffi                                                                                     ~,   ..

                                                                                                                                                                                .·   .
                                                                                                     ... ..,·. . . ._,.                               .   - :"' : : ~ ·- ··. ·.- :··.·_ . .- - .
          Y..!}lt% I.JCI61/11                                                                            ..    - -~ -
                                                                                                                                                                  "':.' " ., -- .




                       )-:J     Y/oj~/r;l
                                                              ···\ · •~          ...     .                          ·'~' '!:~-

     Ju (r.--z ::n vg / rv~?-!)/
                                                                                                • . ii . . •                     • ·-·   •       -



                                                                  ~ ' \ , . a ~: ··, '
                                                                   !. -' ~ ::··. :,; :
   (Vdq, /?l(f I ?IY' I IW/1                                            ...
                                                      ; o'; ':,



                                                                          ,i · . 1


                       ....!- C:t/9-      2f g                    • 1." ,_,,_.   ·:r·   ·: .. · ~ , ••         '!*":
                                                                                                                                  .          .
                                                                                                                           • · r~: : i~J . · ". · •



         '}_l!lcn>             )/1/f"'
  (YO        ~y'-              vg
                                    rYo       ,v
                                           ---
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 5 of 54 PageID #: 4360




                                                                                                    (




                            /~1/U                                                       ·, ;I


                                                                                          ....·
                                                .·
       _<;-g~S       3P/J     -#0                                                                       ·.
                                                           ;·....-. .

                                                ..
         E..~3d -3fb ~                  ;   .        . . . , ·.....· ...   -~.   ...   :·f_.: ~·.: . . !:.. ·• ~
                                                                                                  ·~·
    Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 6 of 54 PageID #: 4361




                                                                                           (




_..!_ ~<tr;J- 1--v~(:/
            J;;;/?Jfi I
 ~~ 071{/ii-
                   (V.J(/
          _j_ f\f;;J IMJ.! r>J;;    (YO    ? J(7
        (?IJ:Jo ~)'cJ .lg d£                         :\

      na~b- r;tl>           _!. J;?l~ J5      '7     .·.. .


     -;J~_:y;;dft19f ___1.,-tl J.J~
(!Y.;.!71Y s;tpr o/ t;CJ?I!h>
  I .;;j~ i!P!!!.""./ -,             -p;Jt"/
   /YtiM/Jry ~~ -;/-tt9
      )z,:'/'fl 5 -;;J111'(Y a!~ _!3,
   7/<?tJf¥- ;,wvrp -pjarJ
            0/.,6           :J ul   o;; _10tl
   ~=rt/~ ~/-Y;I_~                        /r;yJ.(J
        Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 7 of 54 PageID #: 4362




        -.11   o{l]l _!_ ")(.IYf~  _71: JJ
                      ~:;Jrrr5 ,~; oo.·J)

d~~            (':/    ~ ~f/J'/
     ~7'/_!.o(Y_!.~CC/- ,ll&t'J            .J/10)//
           ~ u.~~~ffl                  -_!?hv:;                                                              • '-
                                                                                                          . '.
                                                                                                                              ..
!>   1r11J ')    (Y(>JO       o:JfV~'Jv'h;;                                                     • ..
                                                                                                       ... . .
                                                                                                                      ..
                                                                                                                     ...' ..·.
                                                                                                ...              •       1,   ..   4   •   •



                                                                                                                                               ...
           >l.yt ~ _!Jl~f/                                                .·                     j


                                                                                                ..
                                                                                           ';

                                                                                           .:            .... ,... -
                                                                                                       ...... . ..,
                                                                                                             ~




       )~ ;t'¥/ aC'.;i- altO
                                                          . . .... . ..                   . . :.•·
                                                                                                                     \
                                                          ·'                   ~:   ':r                . ,. ·· ···· ..




· fLA '!;/_(,2/ ~tj:Jo/ _t;JivJ?'I/ff/

                 -S' 6 -
                      0.            __.1-;;?H/lil/;11
                           o_t; . ~ 23 -   7f#o/
     ;(~> ~lrv;( -lc>            .5t?)j    ~~
                ' ~?/ifll9     awlW/11
                                 _j.
      \lief)     L.J~(}VII/o:f: J"6'f7Vf'
1 'l_i (l~<;;)1;;
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 8 of 54 PageID #: 4363




                     '
                                                                                       (
       Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 9 of 54 PageID #: 4364




1   (P (Vtlfr'O'fP- }-vc/--:; i_~
        ;:pv~ ?'ftf() -;l?tf1/t/
                                       f''/1
                 (ty:J) ~9 ""t:;Jlf
         f /~ - s ??ltl/((- -,1;;)91 CJJ?/
              ;:_!-. d;i ol; - S(Y 'ffV:J ;/~
    <) rY. /(:./_c; /- o/    (Y,' 'Ojl fll r J!IQ

I    07?;; y _,)I             /lf/Y
                           (YOn/?      J
          j,.,_;j:J;j ~ f?~"t!ty
                       f:J-I:J q-1011
                                 J/.


        fl/a::?Cj    ;]f'-111     ft1(( -p ~on?                                                                •. ~ .!-..
                                                                                                               . . . :t
                                                                                                                            •:· t


         ;t (Y.~ ~. /'~ r~?J...                                                                             • . .,··-. ··:--. ··.


                                J~rYI/() +J~                                               • "=.


        5c:Pd ·19             ~ r :J.::f rf!-p:-
                    _c;f ac:'- If~ Wf/                                             .. ·-      ~.
    .'211/Y?- ~>.'5 ~ pJ#'c)                               ·-:    '   :            ...       ~:·




                                                           . ;~
                                                                                    .        ~.: ~·:.
                                                       •              I
                                                                                   ·'         .. .
        __! ~ _Lti(Y -- :_!f/.'y Uo/~4'
                                                                               '• . :·        ~!        .
          ;J
                                                                          ·. .,,
      ~p__.!tp-k _:_spy rv;~rfJ1
         Y.;>_jcYfh?- ;HIM                 W:?'l/ji/
    ~ ~c ~                 ntoj!!          s~f1l?
                        ?_!('OJ/~              ·q d
          (l:-#/y /I/;                 f'J';JcY o(Y'
      Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 10 of 54 PageID #:
                                          4365


                                     '-.




                                            Olt8 /         ~0

                        b-fl
(YO ~}f'111(Jh ~.lljCW ?aofo'
. 'tJ!. ··.:ns ____IY - ~ ~,I;!JV)1!
                                                 (YJ~I'I
i. r;)/' ~ '?~.t -___!;? ~p
                                 rvo-
  ~ a~Jjp          £' ~ yffnlr1
 (V;)j(]) [7   ,                \!

  £.wr ~       -t' t;;J{1"1 j              (f7   J2J.;!
           - -;) sV#'9
                J q 7Jfv7J
     >jCJ~?f-1/9 79                               o/3'                                     ;.


_L /~ ~~ -              ;=;;r·)~            71CXJq                                     .
                                                                                ·;:· . .,   .... . ·-:··:-· ···.... .. ..
      r~;;;           o;y - ?1\f :>tt/?$p
               - -·
?IJY.Jf/ f~9 a;Y p-1'0(/t/5' o(Y                   --
 ~-v/s-- 7J{Y7/1~ .JJ;/::f!R
                    .) r;tJtl        ~ <XJffi?

    01rr()r1 A'l':)?!f f:JI'9YYI
!(;1? rY~(I/ r;JY.J(7(J sf~
                         r:/?.!.9~1              _!./
    "Y'~~            ./1} Ji                 roo;g
     Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 11 of 54 PageID #:
                                         4366




       :·




               )Y:/?      $-P~
                   /dJ;;__f#      O'f6cJ

                                           ;J;J:~.:i~t~;~k~,~J.~Jt~:·Wjf.~~ .
                                                . ·.. ;    .. ·
                                                          ;/
                                                                  .
                                                                               :·;·!
                                                                                       . .
                                                                                       ~


                                                                                       :,~i:, ·! ::!.:.·~i:   ....~.'.' . :.:.·.'




__!JaMS :;_7ojl9 1p:;;~<:>at(/ -h ,/,
.-!.c;Y     ~ JY ~ (VO
            (Y.)jf'1 ..

  rm/~ _tY I 'i/9 0111/11/
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 12 of 54 PageID #:
                                    4367




                          ~J




                                                                            ..... .    ....
                                                                                       .
                                                                                      ,.

                                                                                           ... ..
                                                         .. :
                                                                              .............
                                                                              ': !.·· · ...




    d-f!;J_N ~·y/
             (JPW)II _s I ;
           d ra;L.o- c;S(
                .'>-1:/?5 6to                                                                       .•. ; ~'•


                                      ...
               ,,J~-t/o
              ~/1)1   !..,tro;fl
           Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 13 of 54 PageID #:
                                               4368




                -((Y ':1      ov      ~;// £/(Yl
sr,-.£1 ~ -;1J - J                 f»(/ Pwoj41
                      j     .71t/V'/1f
            r>;/~p        !!. rr.:>?#tf
'ttff   rv- ~.7yr»4~?t7                                            •   :
                                                                           . J,
                                                                       .,; ,:
                                                                            I •
                                                                                        • . ,. . .




-~~ ~;!/ .,.~~ -'5                            cgoep
            v Y.·:? - y        :Jr;Y y :J/J#/ _Lrp/
    l_(/;;-~ ~-                            'f?l/:)fl
        j ::>£/Y;?   ~ ll//0 Y:f/ !_rY~
                         ) -vq ~ J.;/
                                    I



  <?'::J  hl"5       "32SVI/                  :>
                                          ;n(l(

               c;;2~~~3           Y':!!£fV[J
                                          a/..jo
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 14 of 54 PageID #:
                                    4369




                        (1   .:·~/J(f     ;) ??/fY
                      r p -- _!. d oaf!
                 '. J. 1/


d-:J ~~<;;   -     !}_VIa;c;- I ;}4f1(Y
                               r??J
                    ~   t1)1;/          - I   ;)('?!!P'
                   _! ~ '6/()1


                      ;(~.!§'             .~ljdJ

         f??(/            ?'11:;/ ?-{vj/
   !:.! s:p           !"'??::!-?   ?;$
                              -rv;; 'i?fwd
               Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 15 of 54 PageID #:
                                                   4370




                                                                                                                                                                       .
                                                                                                                                                                       '• .


                                                                                                                                                                       _,.··c
                                                                                                                                                                       ,.




                                                                                                                                                                       . ·.




               .~/ ·11
               f?7rc'=rf rolE!                                  Jc;a;;
                ~/'.;;_/-y/5 -~fl                              rv;vlo
         ~ .- 'Yf?'l l-....y               c-211~,~        ~l-.1 W-I
    -                  /, /                                     7)
                                                           ~ --:7,   ·y
                                                                         J


                                                          -- c; '/)
                (l'l~             7
                                      .'rl(}             y::a7{of11
  ,~.l(r                '_!ve-IJI t=> ~~#/


                          Y'I'OJ/Y
                                  II', .     ~ __.:--
                                               w' ·' /    _;:--vy                         .....

            ~oat?'                Crv f. 1 ~               Clf7?(Y
                                                                                     ~--.
                                                                                                                                               ·-. -~~-~ .. . ...
                                                                             .. , . :..           :                              .·.;·.·. , '! ..·.:-·;..,.. :.· ,:.
     fY/'>10j                 f       -"';1-t/(Y          ?ch.?j9                                     ......·.- .....   • . !'




Y;1,(11 QYP              .:J?/c;J.:>8'             ~c/ 0~ :          (
                              I
'oo.·c                        ,~/~                  )-Oj'-1011/

               /-r-?~~f/"!7 f~,.,Qy
                                      r;   /9 )     rYE/-1/cf;yo
                  71   ?7 - 1v 2· -z O?J
                                  (Y?      IY ~-v        ?,f-1/7

                                           --       0.'?/r../~7
 Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 16 of 54 PageID #:
                                     4371


                                 '




                s-; -¥
                     -------..._
       .-
                ---    --··-
                                       \
                                            .
               '?/ ~y                 ..J

        _\
              ----    ..

                                             y;!/~;1"""
                                                H?J:f-

                    \/:Jcr¥11((
::>   "P     'f1'          O:J~/)-
       5~(WY>/'!O'                   :; ·~r;~yn
                    Zi-·y.(y _·h;7
                                                                                       ~•

                llljr/ ojl Y// Yj
                                                                               • • •        I

                                                                               I-.              .......

             ~~·~~o             c.~. t;;t p     6;f
                           '~?              -zr.;;oJ



         ::> c; 'Y(Y/~

      7/0of _

y;>r/(jp/     I
   Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 17 of 54 PageID #:
                                       4372




                9/--tl

        (~
                     l   /;4   I   ?1?1(./
   ;) lo/,;??   _!. (':J f.)       ?';)

                                                                                    ;
                                                                                    I         •




                                                                                0       -:,           ·~::.         ••• •



                                                                                        .
                                                                                . . . . ... .
                                                                                                  ~    .    ''I'
                                                                                                                ~

                                                                                                                    . .     ..
                                                                                        .:             ~   -.   '




           ij_ f'd~ jJ     ?rr_loj           (YO

fYVo/.//o   4c-          (Yl/Wtt-:Jf'Vs:'

   l:>rvcyl/ ;-v;_!.~~~- ~o/

(/(Y,I?/~- /~P?          p            {:7P"/hf
  ~S:~IY/~f/ 1/cY?'I/jP' -- ('(          '9:"9
                                                                                                                                                                                                                                                                                     .,
                                                    Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 18 of 54 PageID
                                                                                                                               ...#:
                                                                                                                             . ..
                                                                                        4373        : .
                                                                                                     '· .
                                                                            : :.~. .                  -:· .                                              . -;:
                                                                                                                                        :~                .1.: :-:~:: :-                                                          .•
           .               .. 1~..
                              · .. .
                                     . .
                                                                                                                                                         · •":}.. .
      .                :.· . ·~~·.:. ;'.                                                                  .       ..                                          .•.
                                                                                                                                                            . .·:
                                                                                                                                                                ~                                                      . . ··~~ . .
    • :    •                f •••               ~--     • •               •·•                                 •    •

                                                                                                                                                                                                                                   ~;
     .                 ':      ... .}~:-~- ·:
.
                                                                                                                                                                                                                                                                       ..   . . ..                ~~                      .
                               . .:                -~~-         -: .                                                   ,.
                                                                                                                                                                                                                                   ;                               •
                                                                                                                                                                                                                                                                                .·
                                                                                                                                                                                                                                                                                         ;
                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                  •
                                                                                                                                                                                                                                                                                                  r·~
                                                                                                                                                                                                                                                                                                               • l



                                                                                                                                                                                                                                                                              ·.
                                            ····:                               .·
                                                                                                                                                                                                                                                                   .: ' . ::: ..
                                                                                                                                                                                                                                                                                                      ~

                                                                                                                                                                                                                                                                                     _.      __


                                                                                                                                                                                                                                                                        . . ... .
                                                                                                                                                                                                                                                                            ~




                   0


                            . ,· .. ··,:.·
                               '        •


                                           .
                                     =j : ..
                                                          L




           ·. ..               .·· . ·             __\··.... ·. ·. ·
                       .                                ~~:                     .                                                                                                                                                                                                . ...•'•.
                                        ....                                                                                                                                                                                                                   .   . ·..... : :-;-_.
                               ..                      1:.                      ·.
                       .            .       .                         ..
                                                                           ..
                                                          .~:
               .           .        .                     ·:~


                                         -~-: . .
                                   . ..
                                   -· .· .,. : .
                                                                                                                                                                                                                                                                                     :            .              .
                                                                                                                                                                                                                                                                                 '                        '• , .
                                               .           :\.

                                    .· ,• \'i :· . : . . ·.                                                                                                                                                                                                                     .·.. ·
                                                                                                                                                                                                                                                                                     •,           ' I' •;'
                                                                                                                                                                                                                                                                                                          ,-. ··                      .
                                                                                                                                                                                                                                                                                                                                              ·.;     •



                                                              .                  .

          ...·
                                                   .f .
                                                                                                  .

                                                                                                                                                                -~Mt· f !1 P'"~
                                                                .'.



                                            l
                                                                  .:.
                                                                ...
                                                                  ... ..
                                                                                         .
                                                                                                                                                   .. ...,/{-111 ,,.,,~~;
                                                                      ...                   .


                                            .                              .'. . ·. .
                                                                                                                                                     >t;(# 116 ff/10                                                                                                                         ·-                      ·.   ~




                                                    .
                                                                                                                                                           :_t ttl//./ f'•7                                                                                                                                                       ..
                                                                            ,•
                                                                                                                                                                                                                                                                                                                          ·
                                                                                                                                                                                                                                                                                                           I          ;       '



                                                                                                                                                                                                                                                                                . .\ ·. ·. _:·_.
                                                                                                 .
                                                              . ·J... :
                                                                      .
                                                                            .·.·:

                                                                                :i: \·'..
                                                                                                      .
                                                                                                                                                                                       r••IZI                                 qflg                                                 .· . . ...
                                                                                                                                                                                                                                                                                    ·. ' ...
                                                                                                                                                                                                                                                                                                  ··_
                                                                                                                                                                                                                                                                                                    : .:.:·:=.....
                                                                                                                                                                                                                                                                                                                                      }~




                                                                                ·:·
                                                                                                              .
                                                                                                                                                           . v~p~p;•W
                                                                                    ::
                                                                                                                                                                                                                                                                                             . ·. .._. ··.
                                                                      '



                                                                                                                                                                                                                                                                                                      ·:                  ~- : ..



                                                                                ·:r.
                                                                                    ;   ::

                                                                                         ,·
                                                                                                 -~




                                                                                                          ...
                                                                                                              .
                                                                                                              ..

                                                                                                                                             ,A,~
                                                                                                                                                          "w :1-~Jf,'?l Lt~wjc                          ]
                                                                                                                                                                                                       ;I?                        Str~t(}
                                                                                                                                                                                                                                                                                                                      .. ·.

                                                                                                                                                                                                                                                                                                                •• • :-                   ~-; : i     •




                                                                                                                                                                                                                                                                                                                                  :           ..               .

                                                                                                                                                                     /IW ,._ !f~II/V
                                                                                        ·-: .
                                                                                            ;:            .
                                                                                            :·.                        .                                                                                                                                                                                       .                  .. .
                                                                                                                                                                                                                                                                                                                                          .         ..
                                                    .            .                      . ....                                                                                                                                                                                                        .
                                                                                        ..·~                  .
                                                                                           .,
                                                                                        .... .
                                                                                            -·\ .
                                                                                             ...
                                                                                                 I!
                                                                                               . .
                                                                                                                                                            ..             ) I'~                             ',111h.)/l                                                                                         ·.. .
                                                                                                                                                                                                                                                                                                                 . . .·,                              .
                                                                                              . •.                                                                                                                                                                                                                        . .



                                                                                        :
                                                                                              ·'·
                                                                                               ... ·
                                                                                                •. .



                                                                                                  ..:...: ..
                                                                                              . -;:_.
                                                                                                      ~




                                                                                                                            .
                                                                                                                                                           ggpj                                  .·     -.   ,..        .-
                                                                                                                                                                                                                             -.
                                                                                                                                                                                                                                  lfJ5/
                                                                                                                                                                                                                                   --   . . ..             .
                                                                                                                                                                                                                                                                                                                      : . .. ,: ;_
                                                                                                                                                                                                                                                                                                                     ..                       ··· '
                                                                                                                                                                                                                                                                                                                                                          ·•




                                                                                                                                . . . ·-· -· -··   -~   . - -·--- . . . . . ·--::-· --·    . --.....    . .. .     .   ..    - --
                                                                                                                                                                             "     .                                                                                                         ·.
                                                                                                                                                                                                                                                 '


                                                                                                          ...,_ . .
                                                                                                                                                                                                                                                     '··
                                                                                                                                                                                 ··:   .
                                                                                                              ·~
                                                                                         -
               Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 19 of 54 PageID #:
         · ~ )J        n                           4374
                             7(111-nvm rtJm (d.p-v~p {'V-'d--3 kit~ o_]7f!
       utf <J;r-W;.Tii-F:t,:"~ii7~- ""'Y !/~ .::C ~ 7(1 _2;
                                                                                                                                              __.r

-     /~~9 v~~- 2WIIIff TJ?/tW                      /~7                                                    TYZJ
           ~:(~/#' _Tty_;]f.W~ __::!. j?J{/ ~ rr:TP'l -;Jy _!~
                                                                                          /
           fY1m;¥ _LtJfY ; :7 ~yrr L-v}j P.j/P/ '1>1 ·,/_{1/-wt/
          ~/Y.j>4cb~-- ~·-7-;rr7Tj-·-s-v-m /So/ 'YN rv:Jrm ~d):;
                      /'7~---gH?P                                        7/fl7 ~                      ~·~.'Ji 7~


                           -------·-- --- --·-----·--,-~\I~'.,J?                                                        ?/IY
                                                                                        rY            r?L~~
      ·--------· ..
                                                                              ~/
                      ------ - ·-------- --~~-v~..;J-7

                                                                                      /.I"CJ          rv"~vc;~v
                      ~r-7,;79p/       ~m                              q~5        /V~ViW/ltvz) ~                        V'!17cf
·-    ·· -·-              - -- -·- -----


                                                        7>L
                                            ---
                                                                              ?                                               ~


                                                I   /      I{VfJ   I     t7'Y( ?;/5 ..A ;t-:n(lh
- -·- -                                     .                ·~
                                                        ·- - - -


                                 - zr1.-rup                                            r~ rnrq?Yftl
                                                                                                                               -                    I
                                  '//                                                                                                                   .)
                                        '


                        '/·7'; _::z:- _LV'T~                            ~o/       ~~o>            ~~
                                                                                                   .
                                                                                                                   m -;:::b
                                                                                                                               ./

                       a~        //?-b
                                 -
                                       :L                     :>~r_?          ~
                                                                                              -"/          .-£ /V(JI'

                                                                                  J
                                                                                                              y;; )(Y ::::b
                                                                                                                              ../
                                                                                                                                                  ---
                                                           _?~/~Pp7y                              v
                                                                                                                                                             -

                                            X~                ::1$()&'        -        ~71                 j?;)7V~
                                                                                                                                        -- . ------- ..

                                                                                                                                        -----
                                                                                                              1~1/~
                                                                                                      d. .
                                                                                                       ~




                                                                                                                                        ---· ···-· . -·-· ---

                                                                                                                                        --·   -------
                                                                       /-71;/fVfL         /J71fP!f-wwr-·-
                                                                                                                                    ·- - - - - -
                               ??ll/;#"9-Y_!!_>.~- -(V:;;;~rr-(Yazz:u7Wt~rvaJ--
     ---- 3'-!/¢--·i;~;ll --(~$/ ---------·----------- ·-·· ·--                                                                     -   --- ---

      .A .N '>110.J:JflS :JO AlNflO:J
     1N3Wli:Jtld.=IO 3:J/70d
              Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 20 of 54 PageID #:
                                                  4375




                                                "?f•IV
                     l.91!J.~ ~
           ~~~.,~~Ja~if - ~~~~--~~~~~--.r-~~~------
         "',;6' ~~~~.,, _,~7~'9                                 raT••                •
;t•W ~-,-~.r~-~~-,---r"/v--.rv-u-=-.--~<-+----
~,~,~~~>~"''? 7' :JN :J.'(W/1'1             11lilfii'
   21::1- ~'•77 ~~ h)i7'V~ i:vr----=---==--~~f-----..:s-~i"T"B7"")"--t----
  ~F~ ,/'P rv.~                                     ~~"';11'             -,r:J(/   Jl4 -
       ..,,w         S :Jr•r.'P- ---·"t~t;l •H•
                                 t#7
--------~~-/~~s~,·~.~~~-·~~~~-~~S7~1~J~~~y-----g~~~~a~~~.~,~---~~-------

              /~               -''?"'           Cl#~ll P17"'!!.L                   ~ ·~1¥)




          --s·-·-   i/         CA~     Y~~
          ·-··-- -- - s. ., e'-.--.-=-, -=-~.~............----------..




··-···    .    -- -----·- ----------------=t/1-=-:::s----/---:;------,~~~-----t--- ~\



.~ .N '>110diflS JO ).lNnO:J
!N3Wlllt/ci30 3:JI70ci
           Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 21 of 54 PageID #:
                                               4376



                           .. (W   o>                                ,,,,.41
                                        'rJ / ~~~~,_~.:....:....__--=--::.L____--t--..:...___(
----~r~~~~,~~·t~~-·~~~~~~--~----
                ,,,t.?
          ",'111 ,..,~~fPII('j? 'fAAN ~
- - - - - - - -- - -                                              t< ~ --~tl(}       --t---


   .!P' ,,.J,W7 ~ {"'~~ t..                                     "~Hv~ ~-
        ~ng ~',.,.~~' o/rl·~~l/11.           .
           ..1. ~#Aw fVN'(J rNtl r1" "7jf/VfYI                                 :-1- ,___
     .!!~'(/                 ,~~~r    ::4 _t.rvy :J 1 1·'f rtiiJttlh~ ~-------
                  1..1111~          ~,.,fii.,,#'P' ...,.9 ltv.''?   1-          J




-------,.....-;~""                  71¥     r•-J2t -vt-v-y ;l••'f9 - W--··----
-----~,e-,~~~ lt•~r~rt                           ,~,..,~---'tvfl        ·rr     :.J; --
----------=-----~,.-'{frY(                                             £1"" - TN
                             -----~-                                                   ~ ---




"A "N '>110:J:JnS :JO J..lNnO:J
1N3Wli:JVd30 3:J/10d
            Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 22 of 54 PageID #:
                                                4377



                                                                                                                                (


                                          :..!. '! -ifrr)JOn;;            """1o"F rv m~            v ;)fl     Sj"J 7-
                 ;;f1S~-,e»p-w~11Jf!P                               =;r"Joy 1, r-,.~op 'If~ ---
---=---.i -u-q-rvns-~ov/                                   5 t vOJ7riJ~~_i.dj--~-~~;-~M-
          ·rYfl-~r? I~                                   ~11~v          _L    noSif=v       c;;fJ      fdlf>V"Jn·r"'".>-...L---
   . Vlf/jl ~J /({~ _j~-(V"iJ~ ~ ··--z:t;li.':J'                                             j; fl
                                                                                    ::l/11( 11·?1
     ;z; /VO///Y           ~o?L7_tvo._71V~~ 9 ~~                                    /drqf'Yv- -{ -y;r----l----
      -           {/"              "CC'              -                          -          J                 ---
              ~      .;Jw         ~y~f,.-v.Jrr·/1 (l"CK '"llf:l
_______,_,7                                              TTY;) ,., ·it~I:i""'r ~c.r>t                        -   !71Vf?>

------·· ----------------------------------------1-------
                                                                                                           ~Tctj?<(J

~3:!J__CY""Ll¥ \ !'3 ~ oo--oty                              -_17 l-:1) ,w. tp           - S:>iaptr.'(Y:;>;}/17--                \J
                                  ------_--,--:_r:rvrr~:rrr-;J;c;:~rl)_-l----

          ~....-~r.~~-=--a;-r--".,...7',-.,..()1-fT_!L      .   S(U~(}'       _l tl    7f4~~                     f/ a;_;-
              • q fY.:J/?g 61                      c:;:v   ___,/7      ~            ri1~             ~f'lo    r--1--------

                         c;;;-v-m         ~   1       ~ ~17 v .;J~   '¥       ~/Y      I J!fr"J               ) f11~­
-~~IV2/2-I.V                       fYf>/           >17     "Yfr      //fT;) _!. oiY            f.' p-""'j7'V}
                          .-~.'Y               Pt?'//~i)            -;)/IVy      ?JCJOpj          =:J(fj     q(Y-61
     "V~l/~~0~7::;                            -v     rv=o       r   ~11611      FJf1 ~      :J.   ;t.l{/fl    , N   all
                                                                                                                        ---1----


----~_ _ _ _'--'Y._~
                 _ _ _ ?tf_a£' ~                                                                             {Y()/11/




 A 'N '>110:J:JflS :10 J.lNflO:J                                                                                    I     • '


lNJWlll'r/dJO J:J/10d
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 23 of 54 PageID #:
                                    4378




                                                                                   0
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 24 of 54 PageID #:
                                    4379




                   -et 1,,'J8
                     liBIHX3
                    Sd:lllNIV1d
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 25 of 54 PageID #:
                                    4380
        Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 26 of 54 PageID #:
                                            4381




    )




0
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 27 of 54 PageID #:
                                    4382
    Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 28 of 54 PageID #:
                                        4383




0




0




                                                                                    ,
                                                                                 m~
                                                                                 ><-
                                                                                 :cz
                                                                                 _.,.,
                                                                                 --I
                                                                                 ....m-
                                                                                    u)
      Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 29 of 54 PageID #:
                                                                          ..
                                          4384

                                                                                             '
                                                                                                      ..
                                                                                                     ~ 1 ...




                                      OJ•                                            . ''·.
                                                                                         '       •    I    (




..,                                            i O •j
                                               I




                                                                                                     .•
                                                                                                 .. .
                                                                                     ".. ,. . '      ~.

                                                                                                          ·.·
    Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 30 of 54 PageID #:
                                        4385




0
        Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 31 of 54 PageID #:
                                            4386
                      -·             ..              -- .


)
                                                                    '                        -                                                                                                                .:I .:II(;


               '>      ...........          +

               .,                    .&.             v-              '[       11"1,..

                                                                                                                                                                                                                           ..
               .It                   w               WOt: Lc:l            YOU            III02.n't.   h'f__      OU't.           1ll                  ,y


               _<;                              .    w:~:..:.n       -.:;ne             v•~~a..-      -.::.1•             l                                     .J


               .                                                                                                                                                         '       .

                                                     -.::.n•                               or.r   Lel:          ..:n•         u~ .£"-lin' -~~···                                                    :~:&a     ~nv
                                                                                                                                                                             -
               A                                     ft•r~tt•n~




               9                                                     THtl: COUHTI                               5o        not.ea.

                                                                     JIH                          JISt          T'h•nk           Vf'lPI:
                            :

              11



              12           tbat. point. ill t.i-'l
 '\ •
 ,.
               ;3                    ...             T      ............ 1              .... .......... ,.... - --        ............................... ~                           ..                             -
              14           •bir:t-, he bad on                                 ~ight. co~ored                         abort•·                          That .,                         baai.oa~~y




              '"'                    1"'1            ....      ,              --          .' '        ..,   •.a. .... -                                         ..t - - -                  -~-··""       +'- -

              17     . per•on at t.h• t.i. . Y
                                     .
                                     ~

                                                   ·--· .
                                                     v
                                                                          • ...    .....            .. .. .. .. .......
                                                                                  u...,coL.. .._.,._ ........ ,.. .. - .. ., ......... ..., ••-                                                   '-·-   L-



              .,           ...... -- .............. ..... .......... - .. ...... .. ..............'. - ...... ..... ............
                                                                                                                       . .... .........    ~
                                                                                                                                               ....
                                                                                                                                                           .I        .


              20
                                                                                             -
                     - ri-aht-si-de o1' hi-. hc..---Thvre--waa a-1-i-tt-l...-b±t-o1-bru-±sea-----
              ...          unu ..... ··-.. .....         n;~o•       •ye••
              22                     Q               Did there co•• a point in .t.iae then that you

                           vour-•a~                 ant:                                   ua                        .1'111'1    t-.'hA                                              ot"    AriT..Ar-&t1       'l:ftl!


              .
              ·25                    ...             v••             T ,..,.,...

                                                                                                                                                    PLAINTIFF'S
_,                                                                                                                                                '   EX~ BIT
                                                                                                                                                                             S'               .
                                                                                                                                                       ~of:" a/(i] rd-                                        -
    Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 32 of 54 PageID #:
                                        4387



(




(
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 33 of 54 PageID #:
                                    4388
        Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 34 of 54 PageID #:
                                            4389




0




    0
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 35 of 54 PageID #:
                                    4390




                                                                                                        --
                                                                              . ,. •.r


                                                                                         ... --------........___
                                                                           ·----
                                                                      ----===:::::::__---
                                                                     - ---- ------ ·----------
                                                                   ---- •-....;.__----:-..=




                                                                      t -rh
    Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 36 of 54 PageID #:
                                        4391




                                                                                       -




0
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 37 of 54 PageID #:
                                    4392




           l




                                                     ..    ..•
                                            :.
                                          ...
                                                .· .. .,.·: ..
                                                     I

                                                       .. •
                                        .. .               .,
        Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 38 of 54 PageID #:
                                            4393




        0




    0




0
                                       ~I I"/~'   j(i
                                           8'8
                                        .LIBIHX3
                                      S.:I:II.LNIYld
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 39 of 54 PageID #:
                                    4394
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 40 of 54 PageID #:
                                    4395




                                     b
                                  ~IBIHX3
                                Sd:IIJ.NIV1d
Case 2:09-cv-01207-JS-AYS Document ,.184-14 Filed 08/17/16 Page 41 of 54 PageID #:
 ....... :~ ... -:, .
.._                   ~I' II          4396     I ::            J
                                                                                      'I

       .•   t
      •J•       I                                     ..:oil   I   ..
                    ,'   I   I                                               't   ~    '·
                                      I   '                              ~        I
                                 "•                                     'I    '
                                              ''
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 42 of 54 PageID #:
                                    4397
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 43 of 54 PageID #:
                                    4398




                                                                                                       .1




                                                                                                            0
                                                        ".
                                                                 .
                                                                ···Jo..
                                                               " •-;t      t        •

                                                             ) , ' , .~                  ~...
                                                            . : ~:·
                                                          •~ ... ·r
                                                                          ..   1' ....          " ••




                                                       ...... ·.
    Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 44 of 54 PageID #:
                                        4399




0
                             Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 45 of 54 PageID #:
                                                                 4400



              I   ~>•        •
                                 )'
                                    ""'


                                                 '•
                                                                                  ....
                                                                                         • • ...                     . "-•..,.~"
                                                                                                                       .. I
                                                                                                                               .        •
                                                                                                                                            .,   • •           ,.,;,     •
                                                                                                                                                                                           c
                                                                                                                •f;•·• ,~ •• !~ ; .- r ~~.
                                 • ';. .



                        ..
                                                                                                                                            .
                                                                                         <'•
                                                    ..                                                                 I '\"Q1 .,      -:." "                          ·r,
                                                                                                                                        ..
                                                                                                         :                    ' .: .... •        f               .J

. ....                                                                                                  .• ·.                   •I,'\i               • .....
                                                                                                                                                        • '10. ...
                                                                                                                        .:,~' .,. . ..
                                                                                                                                                                ....         •..

                                            ·.
                                                         ", J'           .
                                                                         •'                                                     .'               '          ~~
                  .. ..,
                                                                                                                          . .. .. . ou.• '
                                                                 •       I    •                                          • .,<1'4,.....
                                                                                                                                  • .."• . . • ,
                                                                                                                              ' 'j"_
                                                                                                                                   rl       '
         .·             '·
                                                                 ..• ..                            .·                               ~,      .)


                  •·              :        ' ;..
                                                                     ;
                                                                                                                                '.,,' -.,
                                                                                                                                        l ••

                                                                                                                                                     .·~ ,.,

                                      ,•         ' •.·




                                                                                                                                                                                           c


         .. / ·
                  .
             ~ ),\ '
            • • 11. ·~ ,,




                                                                                                                                                                                   -~ 1)


  'I
     -f
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 46 of 54 PageID #:
                                    4401
                     Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 47 of 54 PageID #:
                                                         4402




                 I                                                                                                                                                                     .
                                                                                                                                                                                       )
                                                                                                                                                                                       I
                              I




                                                                                                                                                                   '   ..
                                                                                                                 ..'··
                                                                                                                              ~
                                                                                                                                  . ...          4:·
                                                                                                                                                     '·


                                                                                                                                                                        .. . . ....,
                                                                                                                                            '·

                                                                                                                                                               .
                                                                                                                                                                                . ;;




                                                                 ~    ..
                                                                       ... .. .
                                                                                                 ·......                                                  -·· .·
                                                                                                                                                                       . .
                                                                                                                                                                       I ' :.-' -·

                                                                                                                                                                        . .;;i
                                                                ·.-  \ ....




                                                                          _.,
                                                                              ~   .- t
                                                                                  .;.;
                                                                                         ~
                                                                                                      •..          ,     .                                             .... .
                                                                                                                                                                         .,, ..,

I
I                                   ..
                                                                       ·•"·
                                                                        I
                                                                                  '.'i




                                                                          . . " ..r-         .
                                                                                                 ..
                                                                                                 .
                                                                                             ' ·~~·:
                                                                                                      ·~
                                                                                                            ..
                                                                                                                     • f •.
                                                                                                                             ..
                                                                                                                             ....
                                                                                                                                    '   '
                                                                                                                                                 .                       '. . . ··-:'t
                                                                                                                                                                                 ,...._,·



                                                                                                 . ..'
                                                                                                     ·~t...· '



                                         I'
.~f, ..,~
, I     .. ;_,



    ,~
      •
          ,;.                            \'


      .   '
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 48 of 54 PageID #:
                                    4403
                        Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 49 of 54 PageID #:
                                                            4404


                               ~--.
                                  --
                                                    ~ .-~--·
                                                    ' •t



                                                                                 :

                                                             ..'. ..
                                                              .. ' .
·.                 >            ...• ....           1                  .. .
                         j.•
                               ..;. .
         .• ..I          '.,                   I
                                                                                      .
          ;

     ~
                  ,•.
                   ,.




                                                         ··~
                                                    "':~ . ,
                                                      'v T         •
                                                                       ··.
                                         .   ... . .. ~ ..    I<


                                             ...         ·tfj·
                                               .·              ~                 ·,
                               ...
                                ..                   !                       ~


                                             ·~ '

                                               .. :..
                               i ~


                               .......       ..'              .•




                                                                                              /    /

                                                                                          I
                                                                                                  ~y
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 50 of 54 PageID #:
                                    4405
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 51 of 54 PageID #:
                                    4406




                                                                                   (
    Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 52 of 54 PageID #:
                                        4407




c
Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 53 of 54 PageID #:
                                    4408
        Case 2:09-cv-01207-JS-AYS Document 184-14 Filed 08/17/16 Page 54 of 54 PageID #:
                                            4409




    c    -e1; ''feJ _;()
            liS~~
         Sd:lllNIYid




0
